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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


In re

CUSTOMS AND TAX ADMINISTRATION OF
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                 Master Docket 18-md-02865 (LAK)
SCHEME LITIGATION                                ECF Case

This document relates to: 1:19-cv-01867-LAK,
1:19-cv-01868-LAK, 1:19-cv-01869-LAK,
1:19-cv-01895-LAK, 1:19-cv-01896-LAK,
1:19-cv-01898-LAK, 1:19-cv-01904-LAK,
1:19-cv-01906-LAK, 1:19-cv-01911-LAK,
1:19-cv-01924-LAK




DECLARATION OF FOREIGN LAW OF KASPER BECH PILGAARD IN SUPPORT
 OF DEFENDANTS’ MOTION TO DISMISS THE COMPLAINTS PURSUANT TO
           FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)
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                                          BACKGROUND

          I, the undersigned Kasper Bech Pilgaard, state the following:

          1.     I have written this legal opinion at the request of Defendants Richard Markowitz,

Jocelyn Markowitz, Avanix Management LLC Roth 401(K) Plan, Batavia Capital Pension Plan,

Calypso Investments Pension Plan, Cavus Systems LLC Roth 401(K) Plan, Hadron Industries

LLC Roth 401(K) Plan, RJM Capital Pension Plan, and Routt Capital Pension Plan (collectively,

“Defendants”) to be submitted to the courts in New York, in the United States of America, as

evidence of Danish law.

          2.     The opinion rendered herein is a legal opinion on legal matters, which I am

entitled to give on the basis of my knowledge of Danish law.

          3.     My compensation for rendering this opinion has been agreed on a per-hour fee

basis. My compensation does not depend in any way on the opinions I have rendered.

          4.     I have also been retained as counsel for Richard Markowitz and to advise certain

pension plans in connection with their appeals before the Danish National Tax Tribunal agency

in Denmark.

          5.     I have based my legal opinion exclusively on official rules and documents,

without regard to any other fact of which I may have been informed by Defendants or any other

person.

          6.     Attached to my declaration are true and correct copies of Danish laws,

regulations, and materials that I have cited herein, and accompanying English translations as

needed.




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                                           EXPERTISE

       1.      I am a lawyer in Denmark, and I currently practice law at the TVC Law Firm

(formerly, Advokatfirmaet Tommy V- Christiansen). From 2010 to 2015, I served as a litigation

specialist in tax matters at this firm, and since 2015, I have served as a partner.

       2.      I received my law degree from Aarhus University in 2006.

       3.      I was head of section at the Danish National Tax Tribunal from 2007 to 2010.

       4.      In 2008 and 2009, I served as an external lecturer at Aarhus University, and since

2010, I have taught several seminars regarding tax law and relevant issues.

       5.      In 2014, I received a master’s degree in taxation from the Copenhagen Business

School, with an award for thesis of the year.

                                        LEGAL OPINION

The Danish Constitution & The Role of the Danish Parliament

       1.      The Constitution of Denmark provides for a constitutional monarchy system of

government. See Exhibit A (The Constitution of Denmark), at Section 2.

       2.      Section 3 of the Constitution of Denmark formally establishes the division of

power between the King (or Queen), the courts, and the Parliament (Folketinget) of Denmark.

See Exhibit A, at Section 3. According to the Constitution, the King and Folketinget jointly hold

the legislative authority, whereas the King holds executive authority, and the courts hold the

judicial authority. Exhibit A, at Section 3.

       3.      Reference to the King is merely of historic significance, and the Royal Family in

Denmark has in practice no political influence or power.

       4.      The 179 members of Folketinget are elected by Danish, Faroe Island, or

Greenland citizens and pass legislation through a defined legislative process. Once the members



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of the Folketinget have been established through an election, a government is constituted by way

of political negotiation between the parties.

       5.      The prime minister appoints ministers. The Constitution of Denmark also

provides that “[t]he Ministers shall be responsible for the conduct of government; their

responsibility shall be defined by statute.” Exhibit A, at Section 13.

       6.      Consistent with this Constitutional provision, there were currently 22 ministries in

Denmark, including the Ministry of Finance and the Ministry of Taxation, immediately prior to

the June 5, 2019 election.

Funding of the Danish Government

       7.      With regard to the funding of the Danish government, Section 45 of the

Constitution of Denmark states that the government shall submit a Finance Bill to the Folketinget

no later than four months before the beginning of the applicable fiscal year. Exhibit A, at

Section 45.

       8.      Section 46(2) of the Constitution of Denmark states that government funds can

only be expended if the Folketinget passes a Finance Act, or a supplementary or provisional

appropriations act providing for funding. Exhibit A, at Section 46(2).

       9.      The monies that fund the Danish government are contained in the Public

Accounts.

       10.     The authority governing the funding and maintenance of these accounts is set out

in the Public Accounts Law (Regnskabsloven (Lov nr. 131 af 28. marts 1984 om statens

regnskabsvæsen m.v.). See Exhibit B. This law also states that the Minister of Finance is

permitted to issue relevant service regulations for the maintenance of the funds and accounts.




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         11.   In turn, the relevant service regulation (regnskabsbekendtgørelsen) states that the

Public Accounts shall be used to finance state expenses and that the Agency for Modernisation

(Moderniseringsstyrelsen) is responsible for the management of the funds. See Exhibit C.

         12.   In accordance with Section 47(2) of the Constitution of Denmark, the Folketinget

elects auditors who “examine the annual Public Accounts and ensure that all the revenues of the

State have been duly entered therein, and that no expenditure has been defrayed unless provided

for by the Finance Act or some other Appropriation Act.” Exhibit A, at Section 47.

The Finance Act

         13.   Consistent with Section 46(2) of the Constitution of Denmark, the Finance Act

provides funding for all Danish government ministries and their subordinate institutions, such as

universities and the armed forces of Denmark, known as the Danish Defence. See Exhibit D

(Overview section of 2019 Finance Act).

         14.   The Folketinget must pass a new Finance Act every year. Exhibit A, at Section

45(1).

         15.   As a result of a long-standing political tradition, the Minister of Finance initiates

the process by introducing a Finance Bill no later than August 31 for the following financial

year.

         16.   The Finance Committee of the Folketinget, which includes 17 members, then

reviews the Finance Bill. The Finance Committee’s mandate is to oversee matters related to the

Danish government’s draft budget, as well as applications for funding, additional appropriations,

government borrowing, public accounts, and financial policies generally. From September

through December, all ministers must lobby for funding for their ministries.




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       17.     The Folketinget typically holds a final vote on the budget in December, and the

enacted budget takes effect once the King (or Queen) and the Minister of Finance signs it into

law, and the government publishes it, which is typically on January 1. Exhibit A, at Sections 14,

22.

       18.     The Finance Committee also has exclusive control over in-year adjustments to the

budget. At the end of the year, the Ministry of Finance collects the adjustments that the Finance

Committee has approved throughout the year, and it submits a Supplementary Appropriation Act

to the Folketinget for formal approval.

       19.     If an agency spends more than it is allotted by the Finance Act, then the

Folketinget, with a request from and the support of the Minister of Finance, is responsible for

providing funding to the agency to continue its operations.

       20.     There are three ways in which the Folketinget and the Minister of Finance can

provide additional funding: (1) by supplementary permit, (2) through Provision 45 of the

Finance Act, which provides for supplementary authorization of funding, or (3) by application to

the Finance Committee.

The Role of the Ministry of Finance

       21.     The Ministry of Finance plays a central role in the administration of the Danish

government’s budget.

       22.     With the authorization of the Finance Act, the Ministry of Finance provides

funding to other agencies. Traditionally, the funding is allocated to the relevant ministries

through the Finance Act, and each provision contains a specification as to how much money is

allocated to each of the agencies. See generally Exhibit D.




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       23.     According to Provisions 2(2) and 3 of the State Account’s Act, the Minister of

Finance is also authorized to establish rules that govern the bookkeeping of the government of

Denmark. See Exhibit E.

       24.     Consistent with this responsibility, the Minister of Finance has established

Ministerial Order No. 116 of February 19, 2018 (Bekendtgørelse om statens regnskabsvæsen

mv.) (Order No. 116) to establish the procedures that govern the expenditure of state funds. See

Exhibit F.

       25.     Provision 4 of Order No. 116 states that the Ministry of Finance provides funds to

the agencies to realize the tasks assigned to them. See Exhibit G; see also Exhibit A, at Section

45.

       26.     Provision 6 of Order No. 116 states that the Agency for Modernisation, an agency

under the Ministry of Finance, is responsible for distributing the funds to those agencies. See

Exhibit C.

       27.     The Ministry of Finance is also responsible for the payment of Denmark’s

government debts. Cf. Exhibit H (“Agreement between the Ministry of Finance and Danmarks

Nationalbank on the division of tasks in the area of government debt”); see also Exhibit I

(Consolidated Act no. 849 of 22 June 2010).

The Role of the Ministry of Taxation

       28.     With regard to taxation in Denmark, Section 43 of the Constitution of Denmark

states, “No taxes shall be imposed, altered, or repealed except by statute; nor shall any man be

conscripted or any public loan be raised except by statute.” Exhibit A, at Section 43.

       29.     The Ministry of Taxation is the government agency authorized to collect taxes on

behalf of the Danish government.



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        30.     In 1975, the Ministry of Taxation was moved out of the Ministry of Finance, and

it was established as a distinct and independent ministry.

        31.     As a result, today the Ministry of Taxation is not part of the Ministry of Finance;

it is a separate agency with a separate set of responsibilities.

        32.     The Ministry of Taxation comprises four parts: (1) the Danish Customs and Tax

Administration, also known as Skatteforvaltningen, (2) The Department of the Ministry, (3) the

Danish Gambling Authority, and (4) the Danish Tax Appeals Agency.

        33.     Skatteforvaltningen, in turn, comprises seven agencies: (1) the Danish Tax

Agency, (2) the Danish Customs Agency, (3) the Danish Motor Vehicle Agency, (4) the Danish

Debt Collection Agency, (5) the Danish Property Assessment Agency, (6) the Administration

and Services Agency of the Danish Ministry of Taxation, and (7) the IT and Development

Agency of the Danish Ministry of Taxation.

        34.     The independence of the Ministry of Taxation from the Ministry of Finance is

reflected in several laws that allocate the competence to make decisions and to issue rules and

regulations for particular areas of the law to each minister’s portfolio.

        35.     The Danish laws governing the authority of the Ministry of Taxation, such as the

State Tax Act (statsskatteloven), the Danish Tax Assessment Act (ligningsloven), the Danish Tax

Control Act (skattekontrolloven), the Tax at Source Act (kildeskatteloven), the Tax

Administration Act (skatteforvaltningsloven), and the Collection of Debt Act (inddrivelsesloven),

each allocate specific decision-making, rule-making, and regulation-promulgation authority to

the Ministry of Taxation. See, e.g., Exhibits J, K, L, M (Danish Tax Assessment Act, Provisions

14G(6-7), 32D, 33A(4), & 34); Exhibits N, O, P, Q (Danish Tax Administration Act, Provisions




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8, 15A, 49, & 64); Exhibits R, S, T, U (Danish Tax Control Act, Provisions 8, 14, 41, & 52;

Exhibits V, W, X, Y (Tax at Source Act, Provisions 54, 55A, 85, & 114 ).

       36.     All of these decision-making, rule-making, and regulation-promulgation

authorities relate to the assessment and collection of taxes.

       37.     Although Skatteforvaltningen is the agency responsible for the collection of taxes,

Skatteforvaltningen is obligated to pay the tax revenues and other funds that it collects to the

Ministry of Finance.

       38.     This requirement is derived from the Ministry of Finance’s exclusive competence

to allocate and expend state funds, including the distribution of funds to other government

agencies, as authorized by the Finance Act. See Exhibit A, at Section 46(2).

       39.     As noted above, the tax revenues that the Ministry of Finance receives from

Skatteforvaltningen are contained in the Public Accounts that belong to the Kingdom of

Denmark and are administered by the Ministry of Finance, as described above. See supra ¶ 10.

       40.     I am not aware of any legal authority that provides a legal title or ownership

interest to Skatteforvaltningen in the tax revenues and other funds it collects in administering the

tax laws.

       41.     Skatteforvaltningen does not distribute the tax revenues to any other parties or

agencies, nor does it have a role in determining how funds are allocated among government

ministries or agencies, as this responsibility and authority belongs to the Ministry of Finance and

the Folketinget. See supra ¶¶ 22-23.

       42.     In fact, Skatteforvaltningen has no obligation to pay a fixed or certain sum to the

Ministry of Finance or any other government agency. In the event of a shortfall in the collection

of tax receipts for any reason, Skatteforvaltningen does not suffer any financial loss; nor is there



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any recourse against Skatteforvaltningen in the event that the amount of taxes it remits to the

Ministry of Finance does not reach a certain level in any given fiscal year or is less than what

was budgeted for the year. Similarly, Skatteforvaltningen does not benefit from any surplus in

taxes it collects.

Skatteforvaltningen Acts As A Tax Collection Agent for Non-Government Entities

        43.      Skatteforvaltningen also serves as a tax collection agent for non-government

agencies or entities.

        44.      For example, pursuant to Provision 14 in the Local Income Tax Act

(kommuneskatteloven), Skatteforvaltningen collects taxes to support the Church of Denmark

directly from Danish citizens, referred to as the “Church Tax.” See Exhibit Z.

        45.      These revenues are used to fund the Church of Denmark in accordance with The

Act Regulating the Economy of the State Church (Lov om Folkekirkens Økonomi). See Exhibit

AA. These revenues do not belong to the Danish government or Skatteforvaltningen.

        46.      Skatteforvaltningen does not accrue any benefits or suffer any consequences of an

increase or decrease in the funding it collects as part of the Church Tax.

Authority to Bring Suit

        47.      Skatteforvaltningen has authority under Danish law to use a variety of methods to

pursue tax-related claims. For example, Skatteforvaltningen is permitted under the Collection of

Debt Act to impose a lien, to attach a taxpayer’s income or salary, and to set-off a taxpayer’s

debt. See Exhibit BB.

        48.      However, I am not aware of any legal authority that delegates the responsibility to

Skatteforvaltningen to bring claims if the debt does not result from a tax obligation incurred by

the defendant.



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